Case 8:09-cv-00811-AG-RNB Document 52 Filed 10/05/09 Page 1 of 2 Page ID #:439



    1   BARRACK, RODOS & BACINE
        STEPHEN R. BASSER (121590)
    2   SAMUEL M. WARD (216562)
        600 West Broadway, Suite 900
    3   San Diego, CA 92101
        Telephone: (619) 230-0800
    4
        Facsimile: (619) 230-1874
    5
        RICHARD L. CREIGHTON, JR.
        W. JEFFREY SEFTON
    6
        KEATING MUETHING & KLEKAMP PLL
    7
        One East Fourth Street
        Suite 1400
    8
        Cincinnati, Ohio 45202
        Telephone: (513) 579-6400
    9
        Facsimile: (513) 579-6457

   10
        Attorneys for Plaintiffs Patricia C. Reiter, Christopher J. Reiter and James A.
        Singler, as Successor Trustee of the Jack L. Reiter and Patricia C. Reiter
        Irrevocable Trust, U/A/D/ April 27, 2000
   11
                                   UNITED STATES DISTRICT COURT
   12                             CENTRAL DISTRICT OF CALIFORNIA
                                        SANTA ANA DIVISION
   13
        PATRICIA C. REITER an individual                       )
   14   and CHRISTOPHER J. REITER and                          )   CASE NO. CV 09- 811 AG (RNBx)
        JAMES A. SINGLER, as Successor
   15   Trustee of the Jack L. Reiter and                      )
        Patricia C. Reiter Irrevocable Trust,                  )   ORDER CONSOLIDATING
   16   U/A/D/ August 27, 2000,                                    BRIEFING SCHEDULE AND
                                                               )   HEARINGS ON MOTIONS TO
   17                            Plaintiffs,                   )   DISMISS
                V.                                             )
   18
        MUTUAL CREDIT CORPORATION,                             )
   19
        SPURLING GROUP, LLC ,                                  )
   20
        SPURLING GROUP II, LLC,                                )
        MICHAEL BROWN, ANTHONY                                 )
        JACOBSON, DAVID DOTEN,
   21
        RUMSON CAPTIAL, L.P.,                                  )
   22
        NATIONAL WEALTH ADVISORS,                              )
        RICHARD L. SWOPE, SWOPE                                )
   23
        LAMBERSON, P.A., TODD
        SHELBAUGH and DOES 1 through                           )
   24
        100,                                                   )
                                 Defendants.                   )
   25
                                                               )
   26                                                          )
   27

   28




        [PROP] ORD. CONS. BRIEFING SCHED. AND HEARINGS ON MTD - CASE NO. CV09- 811 AG (RNBx)
Case 8:09-cv-00811-AG-RNB Document 52 Filed 10/05/09 Page 2 of 2 Page ID #:440



    1
                Pursuant to the joint stipulation between defendants Mutual Credit
    2
        Corporation, Spurling Group, LLC, Spurling Group II, LLC, Michael Brown and
    3
        Anthony Jacobson (collectively "MCC Defendants"), defendants Todd Shelbaugh
    4
        and National Wealth Advisors, and plaintiffs Patricia C. Reiter, Christopher J.
    5
        Reiter, and James A. Singler (collectively the ″Plaintiffs″) and Local Rule 7-1, the
    6
        Court hereby orders:
    7
                (1)     The hearing on the MCC Defendants' motion to dismiss scheduled
    8
        for November 9, 2009, is continued November 23, 2009 at 10:00 a.m.;
    9
                (2)     Plaintiffs' opposition to the motion to dismiss filed by the MCC
   10
        Defendants and Plaintiffs' opposition to the motion to dismiss filed by Todd
   11
        Shelbaugh and national Wealth Advisors shall be filed no later than October 26,
   12
        2009;
   13
                (3)     The MCC Defendants' reply in support their motion to dismiss and
   14
        Todd Shelbaugh's and National Wealth Advisors' reply in support of their motion
   15
        to dismiss shall be filed no later than November 16, 2009; and
   16
                (4)     Plaintiffs may, at their discretion, file a consolidated opposition, not
   17
        to exceed forty pages in length, to the motions to dismiss filed by the MCC
   18
        Defendants and Todd Shelbaugh and National Wealth Advisors.
   19

   20
                IT IS SO ORDERED.
   21

   22

   23
        Dated: October 05, 2009
   24
                                                           Honorable Andrew J. Guilford
   25                                            Judge, U.S. District Court for the Central District of
                                                                      California
   26

   27

   28


                                                             1
        [PROP] ORD. CONS. BRIEFING SCHED. AND HEARINGS ON MTD - CASE NO. CV09- 811 AG (RNBx)
